Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 1 of 10 PageID 1




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  VANESSA DAVIS,

         Plaintiff,

  v.                                                       Case No:

  ONEMAIN FINANCIAL GROUP,
  LLC,
                                                           DEMAND FOR JURY TRIAL
        Defendant.
  _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, VANESSA DAVIS (“Ms. Davis” or “Plaintiff”), by

  and through the undersigned counsel, and hereby sues and files this Complaint and

  Demand for Jury Trial with Injunctive Relief Sought against Defendant, ONEMAIN

  FINANCIAL GROUP, LLC (“Defendant”), and in support thereof states as follows:

                                            Introduction

         1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

  by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

  Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

  Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

  such Debt by using an automatic telephone dialing system or automated voice or

  prerecorded message to call Ms. Davis’s Cellular Telephone after Ms. Davis demanded

  that Defendant stop calling her Cellular Telephone, and for misrepresenting Ms. Davis’




              Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                Davis v. OneMain Financial Group, LLC
                                             Page 1 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 2 of 10 PageID 2




  Account as delinquent when Ms. Davis was current on an agreed payment plan, which

  can all reasonably be expected to harass Ms. Davis.

                                        Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the TCPA pursuant to 28 U.S.C. § 1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and Fla. Stat. §

  559.77 (1), as a substantial part of the events or omissions giving rise to the claims

  occurred in this judicial district.

                                                 Parties

          4.      Plaintiff, Ms. Davis, was and is a natural person and, at all times material

  hereto, is an adult, a resident of Hillsborough County, Florida, and a “debtor” or

  “consumer” as defined by Fla. Stat. § 559.55 (8).

          5.      Ms. Davis is the “called party” as referenced in the TCPA, 47 U.S.C. §

  227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 310-***-1813 (“Ms.

  Davis’s Cellular Telephone”).

          6.      At all times material hereto, Defendant was and is a corporation with its

  principle place of business in the State of MD and its registered agent, CT Corporation

  System, located at 1200 South Pine Island Road, Plantation, FL 33324.

                                          Statements of Fact

          7.      Under information and belief, Ms. Davis opened a personal loan account

  with Defendant in Ms. Davis’ name that was assigned a unique account number

  (“Account”).



               Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                 Davis v. OneMain Financial Group, LLC
                                              Page 2 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 3 of 10 PageID 3




         8.         Sometime thereafter, Ms. Davis encountered financial difficulties and fell

  behind on her payments towards the Account and incurred an outstanding balance owed

  thereunder (“Debt”).

         9.         Ms. Davis was able to work out a payment arrangement (“Payment

  Arrangement”) with Defendant that would bring her Account current after a certain

  period of time.

         10.        In or around October 2018, Defendant began placing calls to Ms. Davis’s

  Cellular Telephone in attempts to collect the Debt.

         11.        Ms. Davis spoke with Defendant in October of 2018 and told Defendant

  that she had the Payment Arrangement and that she did not understand why Defendant

  was calling her Cellular Telephone several times a day.

         12.        Despite the Payment Arrangement, Defendant’s calls in attempt to collect

  the Debt continued.

         13.        In or around late November of 2018, Ms. Davis spoke to Defendant again

  and demanded that Defendant stop calling her Cellular Telephone.

         14.        Despite Ms. Davis’ demands, Defendant continued to place calls to Ms.

  Davis’ Cellular Telephone in attempts to collect the Debt.

         15.        Defendant has called Ms. Davis’ Cellular Telephone at least fifty (50)

  times during the time period from November of 2018 to the present date.

         16.        Defendant called Ms. Davis’s Cellular Telephone from several different

  telephone numbers, including, but not limited to: 310-316-5450.




               Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                 Davis v. OneMain Financial Group, LLC
                                              Page 3 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 4 of 10 PageID 4




          17.      All of Defendant’s calls to Ms. Davis’s Cellular Telephone were placed in

  an attempt to collect the Debt.

          18.      Defendant has harassed Ms. Davis due to the timing and frequency of

  Defendant’s calls, and for misrepresenting Ms. Davis’s Account as delinquent when Ms.

  Davis was current on the Payment Arrangement, which can all reasonably be expected to

  harass Ms. Davis.


                Count 1: Violation of the Telephone Consumer Protection Act

          19.      Ms. Davis re-alleges paragraphs 1-18 and incorporates the same herein by

  reference.

          20.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

  227 (b) (1) prohibits any person:

                            (A) to make any call (other than a call made for
                            emergency purposes or made with the prior express
                            consent of the called party) using any automatic
                            telephone dialing system or an artificial prerecorded
                            voice – (iii) to any telephone number assigned to a
                            paging service, cellular telephone service, . . . or
                            any service for which the called party is charged for
                            the call.

          21.      Ms. Davis revoked consent to have Defendant call her Cellular Telephone

  by the use of an automatic telephone dialing system (“ATDS”) or artificial voice or

  prerecorded message in or around November of 2018 when she expressly told Defendant

  to stop calling her.

          22.      Despite this revocation of consent, Defendant thereafter called              Ms.

  Davis’s Cellular Telephone at least fifty (50) times.



                Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                  Davis v. OneMain Financial Group, LLC
                                               Page 4 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 5 of 10 PageID 5




         23.      Defendant did not place any emergency calls to Ms. Davis’s Cellular

  Telephone.

         24.      Defendant willfully and knowingly placed non-emergency calls to Ms.

  Davis’s Cellular Telephone.

         25.      Ms. Davis knew that Defendant called Ms. Davis’s Cellular Telephone

  using an ATDS because she heard a pause when she answered at least one of the first few

  calls from Defendant on her cellular telephone before a live representative of Defendant

  came on the line.

         26.      Ms. Davis knew that Defendant called Ms. Davis’s Cellular Telephone

  using a prerecorded voice because Defendant left Ms. Davis at least one voicemail using

  a prerecorded voice.

         27.      Defendant used an ATDS when it placed at least one call to Ms. Davis’s

  Cellular Telephone.

         28.      Under information and belief, Defendant used an ATDS when it placed at

  least ten calls to Ms. Davis’s Cellular Telephone.

         29.      Under information and belief, Defendant used an ATDS when it placed at

  least twenty calls to Ms. Davis’s Cellular Telephone.

         30.      Under information and belief, Defendant used an ATDS when it placed all

  calls to Ms. Davis’s Cellular Telephone.

         31.      At least one call that Defendant placed to Ms. Davis’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to store telephone

  numbers to be called.



               Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                 Davis v. OneMain Financial Group, LLC
                                              Page 5 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 6 of 10 PageID 6




         32.      At least one call that Defendant placed to Ms. Davis’s Cellular Telephone

  was made using a telephone dialing system that has the capacity to produce telephone

  numbers to be called without human intervention.

         33.      At least one call that Defendant placed to Ms. Davis’s Cellular Telephone

  was made using a telephone dialing system that uses a random number generator.

         34.      At least one call that Defendant placed to Ms. Davis’s Cellular Telephone

  was made using a telephone dialing system that uses a sequential number generator.

         35.      At least one call that Defendant placed to Ms. Davis’s Cellular Telephone

  was made using a prerecorded voice.

         36.      Defendant has recorded at least one conversation with Ms. Davis.

         37.      Defendant has recorded more than one conversation with Ms. Davis.

         38.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message to place call individuals to collect

  alleged debts from said individuals, such as Ms. Davis, for its financial gain.

         39.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

  using such devices, just as it did to Ms. Davis’s Cellular Telephone, with no way for the

  called party and recipient of the calls to permit, elect, or invoke the removal of the called

  party and recipient of the calls’ cellular telephone number from Defendant’s call list.

         40.      The structure of Defendant’s corporate policies and/or procedures permits

  the continuation of calls to individuals like Ms. Davis, despite individuals like Ms. Davis

  revoking any consent that Defendant believes it may have to place such calls.



               Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                 Davis v. OneMain Financial Group, LLC
                                              Page 6 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 7 of 10 PageID 7




           41.      Defendant knowingly employs methods and has corporate policies and

  procedures that do not permit the cessation or suppression of calls placed using an ATDS

  to individual’s cellular telephones, like the calls that it placed to Ms. Davis’s Cellular

  Telephone.

           42.      Defendant has corporate policies to abuse and harass consumers like Ms.

  Davis.

           43.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an ATDS after the individual asked for the calls to stop.

           44.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an automated or prerecorded voice after the individual asked

  for the calls to stop.

           45.      Defendant’s phone calls harmed Ms. Davis by causing her embarrassment.

           46.      Defendant’s phone calls harmed Ms. Davis by causing her emotional

  distress.

           47.      Defendant’s phone calls harmed Ms. Davis by causing her to lose sleep.

           48.      Defendant’s phone calls harmed Ms. Davis by causing her stress.

           49.      Defendant’s phone calls harmed Ms. Davis by invading her privacy.

           50.      Defendant’s phone calls harmed Ms. Davis by causing anxiety.

           51.      Defendant’s phone calls harmed Ms. Davis by causing aggravation.

           52.      Defendant’s phone calls harmed Ms. Davis by being an annoyance.

           53.      All conditions precedent to this action have occurred.




                 Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                   Davis v. OneMain Financial Group, LLC
                                                Page 7 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 8 of 10 PageID 8




         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

               a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                    which allows for $500 in damages for each such violation;

               b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

               c. Awarding Plaintiff costs;

               d. Ordering an injunction preventing further wrongful contact by the

                    Defendant; and

               e. Any other and further relief as this Court deems just and equitable.

       Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

         54.        Ms. Davis re-alleges paragraphs 1-18 and incorporates the same herein by

  reference.

         55.        Defendant violated the FCCPA. Defendant’s violations include, but are

  not limited to, the following:

               a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                    call Ms. Davis’s Cellular Telephone after she demanded

                    Defendant to stop calling her, which can reasonably be

                    expected to harass Ms. Davis.

               b.    Defendant      violated     Fla.    Stat.    §    559.72(9)      by

                    misrepresenting the status of the Debt as delinquent in its

                    calls despite the fact that Ms. Davis was current on the

                    Payment Arrangement with Defendant.



                Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                  Davis v. OneMain Financial Group, LLC
                                               Page 8 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 9 of 10 PageID 9




          56.      As a result of the above violations of the FCCPA, Ms. Davis has been

  subjected to unwarranted and illegal collection activities and harassment for which she

  has been damaged.

          57.      Defendant’s phone calls harmed Ms. Davis by causing her embarrassment.

          58.      Defendant’s phone calls harmed Ms. Davis by causing her emotional

  distress.

          59.      Defendant’s phone calls harmed Ms. Davis by causing her to lose sleep.

          60.      Defendant’s phone calls harmed Ms. Davis by causing her stress.

          61.      Defendant’s phone calls harmed Ms. Davis by invading her privacy.

          62.      Defendant’s phone calls harmed Ms. Davis by causing anxiety.

          63.      Defendant’s phone calls harmed Ms. Davis by causing aggravation.

          64.      Defendant’s phone calls harmed Ms. Davis by being an annoyance.

          65.      It has been necessary for Ms. Davis to retain the undersigned counsel to

  prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

          66.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

                   a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                   b. Awarding actual damages;

                   c. Awarding punitive damages;

                   d. Awarding costs and attorneys’ fees;




                Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                  Davis v. OneMain Financial Group, LLC
                                               Page 9 of 10
Case 8:19-cv-00766-JSM-TGW Document 1 Filed 03/29/19 Page 10 of 10 PageID 10




                 e. Ordering an injunction preventing further wrongful contact by the

                     Defendant; and

                 f. Any other and further relief as this Court deems just and equitable.



                                 DEMAND FOR JURY TRIAL

           Plaintiff, Vanessa Davis, demands a trial by jury on all issues so triable.



    Respectfully submitted this March 29, 2019,

                                                    /s/ Michael A. Ziegler
                                                    Michael A. Ziegler, Esq.
                                                    Florida Bar No. 74864
                                                    mike@zieglerlawoffice.com

                                                    /s/ Kaelyn Steinkraus
                                                    Kaelyn Steinkraus, Esq.
                                                    Florida Bar No. 125132
                                                    kaelyn@zieglerlawoffice.com

                                                    Law Office of Michael A. Ziegler, P.L.
                                                    2561 Nursery Road, Suite A
                                                    Clearwater, FL 33764
                                                    (p) (727) 538-4188
                                                    (f) (727) 362-4778
                                                    Attorneys and Trial Counsel for Plaintiff




              Plaintiff’s Complaint and Demand for Jury Trial with Injunctive Relief Sought
                                Davis v. OneMain Financial Group, LLC
                                            Page 10 of 10
